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                         IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF UTAH, CENTRAL DIVISION
      ______________________________________________________________________________

       UNITED STATES OF AMERICA,                           :    Case No. 1:20-cr-00023

                                  Plaintiff,               :
                                                                FIRST CERTIFICATE OF COMPLIANCE
                   v.                                      :    AND REQUEST FOR RECIPROCAL
                                                                DISCOVERY
       MARIAH KEISHA BUTLER,                               :

                                  Defendant.               :    Judge: NIELSON

      _____________________________________________________________________________

                  The United States of America, through its counsel, hereby files its first certificate of

      compliance with its discovery obligations in this case and request for reciprocal discovery from

      the defendant.

                  The United States gives notice that the following, in accordance with FRCP 16(a)(1)(E), is

      being or has been provided to counsel for the defendant via USAfx:

Involved Parties              Description                               Beginning Bates     Ending Bates
Butler, Mariah                Intel Packet                              IP-MB-01-00001      IP-MB-01-00005.28
Butler, Mariah                Wage Data                                 IP-MB-02-00001      IP-MB-02-00001.03
Butler, Terrell               Intel Packet                              IP-TB-01-00001      IP-TB-01-00003.02
Butler, Terrell               Wage Data                                 IP-TB-02-00001      IP-TB-02-00001.03
LEO Reports
FBI                           302's, Diagram, Photo Log, Subject ID     RPT-FBI-01-00001    RPT-FBI-01-00009
Child Exploitation TFO        TFO Supplemental Reports                  RPT-CETF-01-00001   RPT-CETF-01-00003
Winnebago Co Sheriff          Report no. L-WI-2020-02-XX-XXXXXXX-001    RPT-WCS-01-00001    RPT-WCS-01-00001.04




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Warrants/Subpoenas
Subpoena no. 580619       Kik Data                                S-01-00001           S-01-00001.05
Subpoena no. 582900       Comcast Data                            S-02-00001           S-02-00001.05
Warrant no. 2.20mj150     Residence, 301 N. 1500 E. Layton UT     SW-01-00001          SW-01-00002.02
Electronic Data/Records
Comcast                   Butler, Terrell Subscriber Info         ED-C-TB-01-00001     ED-C-TB-01-00001.02
Comcast                   Falletta, Brandon Subscriber Info       ED-C-BF-01-00001     ED-C-BF-01-00001.02
Comcast                   Walker, Sophia Subscriber Info          ED-C-SW-01-00001     ED-C-SW-01-00001.02
Kik                       amsweetie16_ga5 Subscriber Data         ED-KIK-MB-01-00001   ED-KIK-MB-01-00002.104
Social Media Research     Butler, Mariah                          ED-SM-MB-01-00001    ED-SM-MB-01-00001
Photographs
Butler, Mariah            Driver's License Photograph             PH-01-00001          PH-01-00001
Residence, Outside        301 N. 1500 E. Layton UT                PH-02-00001          PH-02-00003
Residence, Search         301 N. 1500 E. Layton UT                PH-03-00001          PH-03-00081
Audio & Video
Officer Body Camera       Layton PD                               AV-OBC-01-00001      AV-OBC-01-00001
Butler, Mariah            Interview 2/26/20                       AV-MB-01-00001       AV-MB-01-00001
Butler, Mariah            Conversation with Terrell 2/26/20       AV-MB-02-00001       AV-MB-02-00001
MR                        Interview 04/07/2020                    AV-MR-01-00001       AV-MR-01-00001



              As additional discoverable material becomes available, such material will be provided

      within a reasonable time.        Throughout this case, the United States will provide material

      discoverable under Rules 16 and 26.2 of the Federal Rules of Criminal Procedure and the Jencks

      Act without requiring the Defendants to make a specific request for such material.

              Upon the request of the Defendants, the United States will permit and facilitate the

      Defendants own inspection, copying or photographing of those items described/defined in Rule

      16(a)(1)(E).

              The United States also hereby requests disclosure of evidence by the Defendants (also

      known as reciprocal discovery) pursuant to Rule 16(b) of the Federal Rules of Criminal Procedure

      and DUCrimR 16-1(c). By providing Rule 16 discovery without requiring a specific request from

      the defense, the United States invokes a reciprocal obligation on the Defendants under DUCrimR


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16-1(c), which states that the Defendants must allow the government to inspect and to copy the

following, as further defined in Rule 16 of the Federal Rules of Criminal Procedure:

               a.      Documents and tangible objects the defendant intends to introduce as
                       evidence at trial;

               b.      Reports of examinations and tests the defendant intends to introduce at trial
                       or that were prepared by a witness whom the defendants intends to call at
                       trial; and

               c.      A written summary of the testimony of any expert the defendants intend to
                       use a trial under Federal Rules of Evidence 702, 703 and 705.

       The United States requests that the Defendants provide to the government at a reasonable

time before trial, but no later than five working days before trial, copies of the material referenced

in this paragraph. Further, the United States requests continuing compliance with the reciprocal

discovery following the initial disclosure.

       The United States also hereby requests all written and recorded statements by any witness

other than the Defendants whom the Defendants intends to call at trial or a hearing covered by the

Jencks Act or Rule 26.2 of the Federal Rules of Criminal Procedure.

       DATED this 18th day of June, 2020.

                                               JOHN W. HUBER
                                               United States Attorney

                                               /S/ Cristina P. Ortega
                                               ___________________________
                                               CRISTINA P. ORTEGA
                                               Assistant United States Attorney




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                               CERTIFICATE OF SERVICE

       I certify that on the 18th day of June, 2020, the FIRST CERTIFICATE OF COMPLIANCE

AND REQUEST FOR RECIPROCAL DISCOVERY was filed electronically to the District Court,

and caused to be served via USAfx, to the following:


               Wendy M. Lewis
               Attorney for Mariah Butler
               46 West Broadway, Suite 110
               Salt Lake City, Utah 84101



                                                   /S/ Emily Gaitin
                                                   ___________________________
                                                   Emily Gaitin
                                                   Certified Paralegal




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